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                         EXHIBIT B
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       Telephone: (720) 213-0675
   6   Facsimile: (303) 927-0809
   7   *Pro Hac Vice
   8   Attorneys for Plaintiff and the Class
   9
       [Additional counsel appearing on signature page]
  10
  11                         UNITED STATES DISTRICT COURT

  12         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

  13
       Edwardo Munoz, individually and on         Case No. 2:18-cv-03893-RGK-AGR
  14   behalf of all others similarly situated,

  15                             Plaintiff,       DECLARATION OF STEVEN L.
                                                  WOODROW
  16          v.
                                                      Judge: Hon. R. Gary Klausner
  17   7-Eleven, Inc., a Texas corporation,
                                 Defendant.           Date: July 15, 2019
  18                                                  Time: 9:00 a.m.
  19                                                  Judge: Hon. R. Gary Klausner
                                                      Courtroom: 850
  20                                                  Complaint Filed: May 9, 2018
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       DECLARATION OF STEVEN L. WOODROW           1
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   1   I, Steven L. Woodrow declare as follows:
   2         1.     I am over the age of eighteen (18), and am one of the attorneys for the
   3   plaintiff and the Class in this matter. I make this declaration in support of Plaintiff’s
   4   Motion for Preliminary Approval of the Class Action Settlement Agreement reached
   5   in the above captioned litigation.
   6         2.     I am able to testify to the matters set forth herein if called upon to do so.
   7   I make the following statements based upon my own personal knowledge and based
   8   on facts learned during the litigation of this case.
   9   Class Counsels’ Pre-Suit Investigation
  10         3.     In or around February 2018, Plaintiff Edwardo Munoz (“Plaintiff” or
  11   “Munoz”) contacted Class Counsel to discuss his legal rights following his
  12   termination from Defendant 7-Eleven, Inc. (“Defendant” or “7-Eleven”).
  13         4.     Thereafter, Class Counsel conducted a pre-suit investigation to evaluate
  14   Munoz’s potential claims.
  15         5.     On March 9, 2018, Class Counsel sent a letter to 7-Eleven requesting all
  16   documents contained in Munoz’s employment file.
  17         6.     On March 30, 2018, 7-Eleven responded and provided part of Munoz’s
  18   employment file. The documents produced included Plaintiff’s new-hire paperwork,
  19   including the Disclosure Regarding Background Investigation.
  20         7.     After receiving the documents related to Munoz’s employment, our
  21   team of lawyers undertook an extensive investigation regarding 7-Eleven’s
  22   employment of Munoz. The investigation included reviewing all of the documents
  23   provided by 7-Eleven and by Plaintiff Munoz. The investigation also included a
  24   series of follow-up interviews with Plaintiff Munoz regarding his experience with 7-
  25   Eleven and the context of how each document was provided to him.
  26         8.     Following the completion of the investigation, we were satisfied
  27   internally that a good faith basis existed to pursue the case on behalf of Plaintiff
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       DECLARATION OF STEVEN L. WOODROW
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   1   Munoz. Further, based upon 7-Eleven’s standardized employment practices, we were
   2   also satisfied that a good faith basis existed to pursue this case on behalf of all
   3   individuals similarly-situated to Munoz.
   4   The Litigation History
   5            9.    Following the filing of the Complaint, 7-Eleven’s counsel reached out
   6   to Class Counsel and counsel for the Parties discussed each side’s respective view of
   7   the case. Following these discussions and being presented with additional
   8   documentation, Plaintiff filed his First Amended Complaint, which removed his
   9   adverse-action claim.
  10            10.   Shortly thereafter, 7-Eleven moved to dismiss the First Amended
  11   Complaint. The Parties fully briefed the Court and argued the motion on August 27,
  12   2018. On September 5, 2018, the Court issued its Order denying Defendant’s motion
  13   to dismiss.
  14            11.   Immediately after briefing Defendant’s motion to dismiss, Plaintiff
  15   moved for class certification. On October 18, 2018, following full briefing on class
  16   certification, the Court issued its Order certifying Plaintiff’s proposed class and sub-
  17   class.
  18            12.   Following the Classes being certified, the Parties worked to identify the
  19   size and scope of the Classes. Then, Plaintiff began formulating a proposed notice
  20   plan, which the Court ultimately approved on February 12, 2019.
  21            13.   After approval, Class Counsel worked with Kurtzman Carson
  22   Consultants, LLC (“KCC”) to effectuate the notice plan. Immediately following
  23   notice being mailed to the class, Class Counsel began fielding calls on a daily basis
  24   from class members seeking additional information about the case. The class
  25   member inquiries required Class Counsel to devote considerable time to responding
  26   to the requests for additional information.
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       DECLARATION OF STEVEN L. WOODROW
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   1         14.    As of June 17, 2019, out of 52,165 total potential class members, KCC
   2   was able to locate and direct mailed notices to 52,009 individuals. As of today, 7,111
   3   mailings have been returned as undeliverable. KCC is working to identify a new
   4   address for these individuals. Concurrently, KCC was able to locate email addresses
   5   for 49,448 class members and direct notice via electronic mail as well. After
   6   reviewing the notice effectiveness, KCC was able to determine that only 912
   7   individuals, or 1.75 percent of all class members, have not received notice by either
   8   direct mail or electronic mail. These results are impressive and demonstrate that
   9   settlement notice is likely to meet or exceed the certification notice.
  10         15.    The Parties also engaged in extensive discovery. This included serving
  11   and responding to discovery requests and effectuating subpoenas. Further, the Parties
  12   met-and-conferred regularly regarding various disputes, and, when necessary, raised
  13   the disputes with the Court. The Parties also conducted depositions. On January 30,
  14   2019, Class Counsel deposed 7-Eleven’s corporate representative, Kristin Cope, in
  15   Dallas, Texas. Later, on February 20, 2019, 7-Eleven’s counsel deposed Plaintiff
  16   Munoz on February 20, 2019 in Newport Beach, California.
  17   The Mediation Process and Settlement History
  18         16.    In early 2019, counsel for both Parties began to discuss the potential for
  19   settlement, and ultimately agreed to hold a private mediation session.
  20         17.    Following the exchange of potential mediators, the Parties agreed to
  21   schedule a mediation session with Michael E. Dickstein. Mr. Dickstein is a
  22   nationally-recognized mediator with substantial class action experience. In the lead
  23   up to the mediation, the Parties exchanged mediation statements regarding their
  24   respective views of the potential for a settlement.
  25         18.    On April 9, 2019, the Parties met in Toronto, Ontario, Canada for a full-
  26   day mediation session. The mediation was adversarial and hard fought with both
  27   sides expressing confidence in their respective views. Ultimately, the session ended
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       DECLARATION OF STEVEN L. WOODROW
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   1   with the Parties unable to reach an agreement. Instead, the Parties agreed to brief and
   2   argue their cross-motions for summary judgment and prepare for trial.
   3         19.    Counsel for the Parties also agreed, however, to continue to discuss a
   4   possible resolution in the lead up to the trial.
   5         20.    To facilitate these discussions, Mr. Dickstein worked to continue the
   6   settlement talks by engaging both sides in a series of telephonic negotiations.
   7         21.    Throughout the discussions, the Parties finished briefing their cross
   8   motions for summary judgment, prepared for and held the Local Rule 16-2 meeting,
   9   and started compiling the joint exhibit list, their Memorandum of Contentions of
  10   Law and Fact, the proposed jury instructions, and their witness lists.
  11         22.    In the midst trial preparation and with the assistance of the mediator, the
  12   Parties reached an agreement in principal to resolve the claims at issue. Only after
  13   reaching an agreement in principal did the Parties discuss an amount for reasonable
  14   attorneys’ fees and an incentive award for Munoz.
  15         23.    Accordingly, the settlement negotiations were overseen by a well-
  16   respected mediator with substantial class action experience who made certain that at
  17   all times the negotiations stayed professional and arm’s-length. The result is a
  18   Settlement Agreement that provides class members with substantial relief.
  19   Class Counsel’s Opinion of the Settlement Agreement
  20         24.    The terms of the Settlement Agreement are undeniably strong. The
  21   Settlement Agreement provides substantial monetary relief to the class members, and
  22   redresses the very issue that gave rise to the instant litigation. That is, the agreement
  23   requires 7-Eleven to utilize an FCRA compliant disclosure on a going forward basis.
  24         25.    Further, assuming that projections hold (which assume a 5% take rate,
  25   administrative costs of approximately $125,000, a $5,000 incentive award, and—
  26   solely for the sake of this illustration—a 25% attorneys’ fee award), the per claimant
  27
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       DECLARATION OF STEVEN L. WOODROW
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   1   amounts will equal $517 for each class member who files a claim. This is an
   2   unquestionably strong result.
   3         26.    Moreover, the strength of the Settlement Agreement is most apparent
   4   when view in contrast to the continuation of the litigation. Here, both Parties were
   5   willing to litigate this case through summary judgment and trial. And an adversarial
   6   ruling or a verdict in 7-Eleven’s favor would have left the class members with
   7   potentially no recovery at all.
   8         27.    Further, regardless of the result of summary judgment and the
   9   impending trial, the decision likely would have been appealed. Altogether, this
  10   process could drag out for several years.
  11         28.    Fortunately for class members, this Settlement Agreement will provide
  12   them with immediate and substantial relief.
  13         29.    My firm has extensive experience litigating FCRA class actions, has
  14   devoted substantial resources to the present litigation, and will continue to do so
  15   throughout its pendency. (See Woodrow & Peluso Firm Resume, attached hereto as
  16   Exhibit 1.) We support this Settlement as being fair, reasonable, and adequate and in
  17   the best interest of the Settlement Class.
  18         Further affiant sayeth not.
  19         Signed this 17th day of June 2019 in Denver, Colorado.
  20
  21                                           /s/ Steven L. Woodrow
  22                                           Steven L. Woodrow
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       DECLARATION OF STEVEN L. WOODROW
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                         Exhibit 1
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                             WOODROW & PELUSO, LLC FIRM RESUME

           WOODROW & PELUSO, LLC (“Woodrow & Peluso” or the “firm”) is a plaintiff’s class
   action and commercial litigation firm based in Denver, Colorado. The firm files cases across the
   Country.

           Our attorneys have over a decade of experience successfully representing consumers and
   small businesses in matters nationwide. From litigation under the Telephone Consumer
   Protection Act, 47 U.S.C. § 227 et seq., to cases enforcing the rights of job applicants and
   employees under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., to appeals of first
   impression, our lawyers have litigated and favorably resolved numerous legal disputes to the
   satisfaction of our clients. At Woodrow & Peluso, LLC, we take special pride in the quality of
   our work product and strive tirelessly to achieve the best results for every client. Descriptions of
   our three primary practice areas—(1) Consumer Class Actions, (2) Commercial Litigation, and
   (3) Appeals—and key personnel follow.

                                        OUR PRACTICE AREAS

   1.     CONSUMER CLASS ACTIONS

          The majority of the firm’s caseload focuses on consumer class actions. These cases
   include class actions alleging violations of statutes, such as the Fair Credit Reporting Act, the
   Telephone Consumer Protection Act, and the Truth-in-Lending Act, as well as class actions
   challenging systematic breaches of contract and advancing other common law theories.

          TCPA Class Actions

           Woodrow & Peluso attorneys have successfully litigated and settled numerous class
   actions challenging violations of the Telephone Consumer Protection Act. To date we have filed,
   prosecuted, and resolved using various settlement models TCPA cases against major
   corporations and entities including Rita's Italian Ice, Global Marketing Research Services, LKQ
   Corporation, J.B. Hunt, Altisource, Acurian, Price Self Storage, Local Lighthouse, Geekatoo,
   and the University of South Carolina, among others. Our firm’s attorneys have substantial
   experience prosecuting such claims, including class actions challenging the unlawful
   transmission of text messages, the sending of unlawful facsimiles, the placement of “robocalls”
   featuring a pre-recorded voice to residential landline phones, and the use of automatic telephone
   dialing systems, including predictive dialers, to call consumer cell phones.

          Notable TCPA cases and settlements include:

          • Tech Instruments, Inc. v. Eurton Electric Inc. 1:16-cv-02981-MSK-KMT (Krieger, C.J.)
          (adversarial class certification granted under for transmission of junk faxes)

          • Bowman v. Art Van Furniture, Inc. 2:17-cv-11630-NGE-RSW (Edmunds, J.) (granting
          final approval to all in, non-reversionary settlement fund of $5,875,000 in pre-recorded
          message case) (final approval granted December 10, 2018);
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        • Wendell H. Stone & Co. v. LKQ Corporation, 16-cv-07648 (N.D. Ill.) (Kennelly, J.)
        (granting final approval to all-in, non-reversionary, settlement fund of $3,266,500) (final
        approval granted May 16, 2017);

        • Martin et al. v. Global Marketing Research Services, Inc., 6:14-cv-1290-ORL-31-KRS
        (M.D. FL) (Woodrow & Peluso appointed co-lead Settlement Class Counsel in settlement
        creating $10,000,000 common fund for class of 688,500 cellphone users) (final approval
        granted November 4, 2016);

        • Mendez v. Price Self Storage Management, Inc., 3:15-cv-02077-AJB-JLB (S.D. CA)
        (Woodrow & Peluso appointed co-lead Settlement Class Counsel in TCPA settlement
        providing option of $750 cash or $1,100 in storage certificates) (final approval granted
        August 23, 2016);

        • Sherry Brown and Ericka Newby v. Rita's Water Ice Franchise Company, LLC,
        2:15-cv-03509-TJS (E.D. PA) ("all in" non-reversionary $3,000,000 settlement fund for
        text messages) (final approval granted March 20, 2017);

        • Morris et al v. SolarCity, Inc. 3:15-cv-05107 (N.D. CA) (JPA with counsel on $15
        million common fund TCPA settlement, final approval granted February 1, 2018); and

        • Gergetz v. Telenav, Inc. 3:16-cv-04261 (N.D. CA) (“all-in” non-reversionary $3.5
        million fund for text messages) (final approval granted on September 6, 2018).

         Further, while a Partner with his prior law firm, Woodrow & Peluso attorney Steven
 Woodrow was appointed interim co-lead class counsel in a TCPA class action against Nationstar
 Mortgage, LLC (see Jordan et al v. Nationstar Mortgage LLC, 3:14-cv-00787-WHO) and led
 TCPA litigation that resolved favorably against Bankrate Inc., and Carfax.com. Mr. Woodrow
 was also involved in the TCPA settlement reached in Weinstein v. The Timberland Co. et al.
 (N.D. Ill.), a text messaging class action featuring 40,000 unauthorized messages, and was part
 of the appellate strategy team that secured the landmark decision in Satterfield v. Simon &
 Schuster, Inc., 569 F.3d 946 (9th Cir. 2009), the first federal appellate decision to affirm that text
 messages are covered as “calls” under the TCPA.

        FCRA Class Actions

         The second sub-focus within the firm’s class action practice consists of cases under the
 Fair Credit Reporting Act (“FCRA”), which regulates the procurement and use of consumer
 reports by employers when they make hiring/firing/pay decisions. To date, the firm has
 successfully represented clients in putative class actions against Terminix, ServiceMaster,
 TrueBlue Inc./Labor-Ready Mid-Atlantic, FedEx, Tyler Staffing Services, Inc., Great Lakes
 Wine & Spirits, Freeman Webb, Inc., and others. This includes attaining adversarial class
 certification in the case of Munoz v. 7-Eleven, Inc., 2:18-cv-03893-RGK-AGR (C.D. Cal.,
 October 28, 2018). This also includes Woodford v. World Emblem, 1:15-cv-02983-ELR, an
 FCRA settlement providing between $315 and $400 to claimants (final approval granted January
 23, 2017).


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        Banking and Financial Institutions Class Actions

          Our attorneys have substantial experience representing consumers in class action
 litigation involving national banking associations and other financial institutions. Meaningful
 representations include:

               •      Schulken v. Washington Mut. Bank, No. 09-CV-02708-LHK, 2012 WL
                      28099, at *15 (N.D. Cal. Jan. 5, 2012). Attorney Steven Woodrow secured
                      prior firm’s appointment as Class Counsel from Judge Lucy Koh in class
                      action challenging JPMorgan Chase Bank, N.A.’s suspension of former
                      WaMu home equity line of credit accounts. Case settled with Mr.
                      Woodrow’s appointment as co-lead settlement class counsel.

               •      In re JPMorgan Chase Bank, N.A. Home Equity Line of Credit Litigation,
                      MDL No. 2167. Attorney Steven Woodrow helped secure transfer by the
                      Judicial Panel on Multidistrict Litigation to the Northern District of
                      Illinois and appointment of prior firm as interim class counsel. Attorney
                      Woodrow also negotiated and was also appointed co-lead settlement class
                      counsel in settlement projected to restore between $3 billion - $5 billion in
                      credit to affected borrowers in addition to cash payments.

               •      Hamilton v. Wells Fargo Bank, N.A., 4:09-cv-04152-CW (N.D. Cal.).
                      Attorney Steven Woodrow served as co-lead settlement counsel in class
                      action challenging Wells Fargo’s suspensions of home equity lines of
                      credit. Nationwide settlement restored access to over $1 billion in credit
                      and provided industry leading service enhancements and injunctive relief.

               •      In re Citibank HELOC Reduction Litigation, 09-CV-0350-MMC (N.D.
                      Cal.). Attorney Steven Woodrow was appointed interim co-lead counsel
                      and settlement class counsel in class actions challenging Citibank’s
                      suspensions of home equity lines of credit. The settlement was estimated
                      to have restored over $650,000,000 worth of credit to affected borrowers.

               •      Vess v. Bank of America, N.A. 10cv920–AJB(WVG) (S.D. Cal.). Attorney
                      Steven Woodrow negotiated class action settlement with Bank of America
                      challenging suspension and reduction of home equity lines of credit.

               •      Wigod v. Wells Fargo, No. 10-cv-2348 (N.D. Ill.). Steven Woodrow
                      secured the first appellate decision in the country recognizing the right of
                      homeowners to sue under state law to enforce HAMP trial plan
                      agreements. Attorney Steven Woodrow was appointed co-lead settlement
                      counsel providing loan modifications and cash payments to affected
                      borrowers.



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        General Consumer Protection Class Actions

         Woodrow & Peluso attorneys have additionally successfully prosecuted and resolved
 countless class action suits against other companies for a range of consumer protection issues.
 For example, Woodrow & Peluso filed the first class action in the Country to challenge the
 marijuana industry’s use of certain allegedly dangerous fungicides and pesticides and were the
 first lawyers to bring class actions (against the Colorado Rockies Baseball Club and Kroenke
 Sports & Entertainment, LLC) seeking to enforce the Colorado Consumer Protection Act, § 6-1-
 718 et seq., which prohibits owners of entertainment venues from imposing restrictions on the
 resale of tickets. The firm has also brought and litigated class actions against hospitals for their
 use of “chargemaster” billing rates and are presently engaged in litigation against Southwest
 Airlines related to its “Companion Pass” program.

         Woodrow & Peluso LLC has also brought claims against major food manufacturers and
 distributors for falsely advertising certain products as “All Natural” and “Made in U.S.A.” Our
 attorneys also have experience litigating class claims regarding missing or misappropriated
 “bitcoins.” Woodrow & Peluso also brought the first class action in Colorado against cannabis
 growers for their use of unapproved and harmful pesticides.

 2.     COMMERCIAL LITIGATION

         As small business owners, we understand and appreciate the challenges that new
 companies face as they strive to make headway in the market. Our attorneys regularly counsel
 small to medium-sized businesses and have represented such companies in a wide range of
 general commercial litigation matters including partnership and business disputes, breaches of
 contracts and term sheets, and claims charging company managers and members of breach of
 fiduciary duty, breach of contract, fraud, and fraudulent/preferential transfers. We regularly
 advise clients on matters and contracts involving millions of dollars, and our attorneys have
 successfully represented businesses and other entities in mediations, arbitrations, and trial. In
 2018, for example, Woodrow & Peluso, LLC defended a developer of concessions at Denver
 International Airport against claims of bid-rigging and bribery.

 3.     APPEALS

         Our attorneys have substantial experience handling appeals at both the state and federal
 level. Representative appeals worked on predominately by our attorneys include:

                •       Mitchell v. Winco Foods, LLC, No. 1:16-cv-00076-BLW, Appeal No. 17-
                        35998 (9th Cir. Nov. 29, 2018). Firm attained reversal of district court’s
                        dismissal of putative FCRA class action on Article III standing grounds;

                •       Brown v. Centura Health Corporation, No. 15CV31140 (Douglas Cnty.
                        Colo.), Appeal No. 17CA430. Firm achieved reversal of dismissal of
                        putative class action lawsuit challenging hospital’s use of chargemaster
                        billing system);




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               •       Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012). Attorney
                       Steven Woodrow briefed and argued this appeal resulting in the first
                       federal appellate decision holding that banks may be sued under state law
                       for violations of the federal government’s Home Affordable Modification
                       Program. The opinion has been cited over 1,300 times by courts, litigants,
                       and commentators throughout the Country and is widely regarded as the
                       leading authority on the rights and obligations of HAMP servicers and
                       borrowers.

               •       Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014). Attorney Steven
                       Woodrow argued a federal appeal reversing dismissal and upholding
                       consumer rights under the Fair Credit Reporting Act against one of the
                       nation’s largest online data aggregators regarding whether a plaintiff who
                       does not suffer tangible pecuniary loss may still show legal harm to satisfy
                       Article III standing. The case was reversed on writ of certiorari to the
                       United States Supreme Court (argued by different attorneys).

               •       Equity Residential Properties Mgmt. Corp. v. Nasolo, 364 Ill. App. 3d 26,
                       28, 847 N.E.2d 126, 128 (2006). Attorney Steven Woodrow helped author
                       the winning brief in this landmark landlord/tenant appeal defining the
                       requirements for constructive service and due process for Illinois evictions
                       under the Illinois Forcible Entry and Detainer Act. 735 ILCS 5/9–107 et
                       seq.

               •       Fuentes v. Kroenke Sports & Entertainment, LLC, Case No.
                       2014CV32619. Woodrow & Peluso appealed grant of summary judgment
                       in favor of defendant finding that the Colorado Consumer Protection Act,
                       6-1-701 et seq. does not allow for class actions. Case settled prior to the
                       resolution of the appeal.

                                        OUR ATTORNEYS

        At present, our firm consists of 4 attorneys whose relevant experience is set forth below.

 STEVEN LEZELL WOODROW has over a decade of experience advising consumers
 and small businesses in high stakes litigation.

 Steven briefed and delivered the winning argument in the landmark federal appellate court
 decision Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012) holding banks
 accountable for violations of the federal Home Affordable Modification Program. The opinion
 is widely regarded as the leading authority on the rights and obligations of HAMP servicers
 and borrowers. Steven also delivered the winning oral argument in Robins v. Spokeo, 742 F.3d
 409 (9th Cir. 2014), a federal appeal upholding consumer rights under the Fair Credit Reporting
 Act against one of the nation’s largest online data aggregators. The case and the Supreme Court
 decision that ultimately reversed it (and now the Ninth Circuit's decision to re-affirm its prior




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 finding of Article III standing) present some of the most widely-litigated issues in class action
 practice today.

 Mr. Woodrow was appointed lead class counsel in litigation against JPMorgan Chase Bank,
 N.A. challenging the bank’s 4506-T HELOC suspension program and was appointed lead
 settlement class counsel in other HELOC suspension litigation against Wells Fargo Bank, N.A.,
 Citibank, N.A., Chase, Bank of America, N.A. and PNC Bank.

 Mr. Woodrow also led the legal team that secured a preliminary injunction freezing the
 U.S. assets of Mark Karpeles, the former head of the failed Bitcoin exchange known as Mt. Gox,
 as well as an order compelling Mr. Karpeles to personally appear in the United States for a
 deposition in connection with Mt. Gox’s Chapter 15 bankruptcy case in Dallas Texas.

 Steven has also litigated putative class actions under the Telephone Consumer Protection
 Act, and courts have appointed him to serve as class counsel in nationwide settlements
 against cellphone companies, aggregators, and mobile content providers related to unfair
 billing practices, including Paluzzi v. Cellco Partnership, Williams v. Motricity, Inc., and Walker
 v. OpenMarket Inc.

 Steven has also served as an Adjunct Professor of Law at the Illinois Institute of
 Technology Chicago-Kent College of Law, where he co-taught a seminar on class actions. Prior
 to founding Woodrow & Peluso, Steven was a partner at prominent class action technology firm
 in Chicago.

 Before that, he worked as a litigator at a Chicago boutique where he tried and arbitrated a
 range of consumer protection, landlord tenant, and real estate matters.

 EDUCATION
 Chicago-Kent College of Law, J.D., High Honors, 2005
 The University of Michigan-Ann Arbor, B.A, Political Science, with Distinction, 2002

 ADMISSIONS
 State of Illinois (2005)
 State of Colorado (2011)
 United States Court of Appeals for the Seventh Circuit
 United States Court of Appeals for the Ninth Circuit
 United States District Court, Northern District of Illinois
 United States District Court, District of Colorado
 United States District Court, Eastern District of Michigan
 United States District Court, Western District of Michigan
 United States District Court, District of New Mexico


 PATRICK H. PELUSO specializes in plaintiff-side consumer class actions.




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 With a true passion for protecting consumers and their rights, Patrick aggressively pursues class
 action lawsuits against companies who violate those rights.

 Through these lawsuits, he is able to force law-breaking companies to compensate the people
 they have harmed and correct their future practices. Patrick possesses the skills, strategic vision,
 and moxie to achieve excellent results for the people he represents. He has experience working
 with a broad range of consumer protection laws including the Fair Credit Reporting Act, the
 Telephone Consumer Protection Act, and various state consumer protection and consumer fraud
 statutes.

 Patrick received his law degree from the University of Denver, Sturm College of Law where he
 was Editor-in-Chief of an academic journal. During law school, Patrick worked with a leading
 consumer class action law firm and held legal internships with a federal administrative judge and
 the legal department of a publicly traded corporation. Before law school, Patrick attended New
 York University, where he graduated with a B.S. and played on the school’s club baseball team.

 Patrick grew up in Baltimore, Maryland and now resides in Denver, Colorado.

 EDUCATION
 University of Denver, J.D.
 New York University, B.S.

 ADMISSIONS
 State of Colorado (2014)
 United States District Court, District of Colorado
 United States District Court, District of New Mexico
 United States District Court, Eastern District of Michigan
 United States District Court, Northern District of Illinois
 United States District Court, Western District of Wisconsin



 TAYLOR TRUE SMITH focuses his practice on consumer class actions.

 Throughout his life and career, Taylor has developed a passion for consumer advocacy. By
 pursuing class actions on behalf of consumers, Taylor can give consumers not just a voice but
 also a seat at the bargaining table.

 Taylor received his law degree from the Creighton University School of Law. During law school,
 he interned with the South Dakota Supreme Court. Prior to beginning law school, Taylor
 attended South Dakota State University where he earned a B.S. in Economics.

 Taylor was raised in Fort Pierre, South Dakota and currently resides in Denver, Colorado.

 EDUCATION
 Creighton University School of Law, J.D. Cum Laude 2017
 South Dakota State University, B.S. Magna Cum Laude 2013


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 ADMISSIONS
 State of Colorado (2017)
 United States District Court, District of Colorado
 United States District Court, Eastern District of Michigan
 United States District Court, Northern District of Illinois


 STEPHEN KLEIN devotes his practice to consumer class actions and commercial litigation.

 In a word, Stephen prides himself on the pursuit of results. Whether championing consumers in
 class actions to curb injurious commercial practices or helping businesses to secure their
 resources and protect their rights, Stephen is dedicated to achieving client goals.

 Stephen earned his law degree at the University of Denver, Sturm College of Law, where he
 earned a certificate in intellectual property law. While in law school, Stephen worked as a
 student attorney in the Environmental Law Clinic and as a legal fellow in DU’s Office of
 Technology Transfer. He also served as Managing Editor of the University of Denver Water Law
 Review. Prior to law school, Stephen earned a B.A. in Environmental and Sustainability Studies
 from the University of Northern Colorado.

 Originally from Chicago, Illinois, Stephen spent time in Minnesota, Ohio, and Texas before
 settling in the Denver metro area.

 EDUCATION
 University of Denver, Sturm College of Law, J.D., Order of the Coif, 2018
 University of Northern Colorado, B.A., summa cum laude, 2014

 ADMISSIONS
 State of Colorado (2018)
 United States District Court, District of Colorado




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